
Upon consideration of the petition for discretionary review, filed by Plaintiff on the 25th of March 2015 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 20th of August 2015."
Upon consideration of the petition filed by Plaintiff on the 27th of March 2015 in this matter for a writ of certiorari to review the decision of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 20th of August 2015."
Accordingly, the new brief of the Plaintiff shall be filed with this Court not more than 30 days from the date of certification of this order.
Plaintiff shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
